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                                 UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF SOUTH CAROLINA


IN RE:                                              CASE NO: 18-05568-dd

Lisa Ann DeGennaro                                  CHAPTER: 7

                             DEBTOR(S)

Address: 85 Sago Palm Dr.                             NOTICE AND APPLICATION FOR SALE OF
Bluffton, SC 29910                                     PROPERTY FREE AND CLEAR OF LIENS

Last four digits Social Security: 8434


TO: All Creditors and Parties in Interest

Kevin Campbell, Chapter 7 Bankruptcy Trustee, has filed papers with the court to obtain approval to sell
the property of the debtor's estate described below free and clear of all liens and encumbrances
according to the terms and conditions stated below.

      Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to
consult one.)

      If you do not want the court to approve the sale of the property, or you want the court to consider
your views on the application, then within twenty-one (21) days of service of this notice, you or your
attorney must:

      File with the court a written response, return, or objection at:

         1100 Laurel Street
         Columbia, SC 29201

       Responses, returns, or objections filed by an attorney must be electronically filed in
ecf.scb.uscourts.gov.

      If you mail your response, return, or objection to the court for filing, you must mail it early enough
so the court will receive it on or before the date stated above.

      You must also send a copy to:

      KEVIN CAMPBELL, TRUSTEE, Post Office Box 684, Mt. Pleasant, SC 29465

     Attend the hearing scheduled to be heard on August 20, 2019, at 9:00 a.m. at the United States
Bankruptcy Court, 145 King Street, Suite 225, Charleston, South Carolina.

       If no response, return, and/or objection is timely filed and served, no hearing will be held on this
application, except at the direction of the judge.

        If you or your attorney do not take these steps, the court may decide that you do not oppose the
relief sought in the application and may enter an order granting that relief.
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TYPE OF SALE: Private Sale.

PROPERTY TO BE SOLD: The Estate’s interest in real property known as 942 Columbus Drive, Brick,
NJ 08724

       NOTICE: THE TRUSTEE IS SELLING THE ABOVE-REFERENCED PROPERTY “AS
       IS,” WITHOUT ANY WARRANTIES WHATSOEVER INCLUDING, BUT NOT LIMITED
       TO, WARRANTY AS TO TITLE. THE BUYER AGREES TO RECEIVE THE PROPERTY
       WITH ALL FAULTS. THE TRUSTEE MAKES NO WARRANTY, EXPRESS OR
       IMPLIED, REGARDING THE PROPERTY, AND SPECIFICALLY EXCLUDES ANY
       IMPLIED WARRANTY OF MERCHANTABILITY AND ANY IMPLIED WARRANTY
       OF FITNESS FOR A PARTICULAR USE OR PURPOSE. THE BUYER SHOULD HAVE
       THE TITLE TO THE PROPERTY RESEARCHED BEFORE THE CONSUMMATION OF
       THE SALE. THE TRUSTEE DOES NOT PROVIDE LIEN OPINIONS. THE BUYER HAS
       BEEN GIVEN THE OPPORTUNITY TO EXAMINE THE PROPERTY BEFORE
       SIGNING ANY CONTRACT OR SUBMITTING A BID TO PURCHASE THE PROPERTY,
       AND TO PERFORM SUCH TESTING, IF APPLICABLE, TO DETECT POSSIBLE
       LATENT DEFECTS.

PRICE: $200,000.00 cash or certified funds plus an additional $10,000.00 to be paid directly to the
bankruptcy estate for a total sales price of $210,000.00.

APPRAISAL VALUE: $210,000.00 per Trustee’s real estate agent.

BUYERS: Dennis Bernat Jr., or his assigns, whose address is 73 Willet St., Bloomfield, NJ 07003 (The
buyer is a good faith purchaser for value under §363(m) and does not have any known adverse
interest in this case or any parties involved in this case, including the Debtors, Debtors’ counsel and
the U.S. Trustee’s office. The Buyer is not a creditor of the Debtors).

PLACE, DATE AND TIME OF SALE: This sale shall take place as soon as possible following the entry
of the Order Approving the Sale by the U.S. Bankruptcy Court at a date, place and time to be agreed
upon by the parties.

SALES AGENT/AUCTIONEER/BROKER/ETC.: BK Global Real Estate Services (“BKRES”) whose
address is 1095 Broken Sound Parkway, N.W., Suite 100, Boca Raton, FL 33487 and telephone
number is 561-206-0067 is the Real Estate Broker; and RE/MAX at Barnegat Bay (“REMAX”) whose
address is 221 Lacey Rd, Forked River, NJ 08731 and whose telephone number is 609-709-4758 is
the Local Listing Agent.

EXPENSES OF SALE: Normal Seller’s closing costs are estimated to be approximately $7,737.00,
being approximately 3.6% of the gross sale price to be paid from the lender’s portion of the sale
proceeds. The Chapter 7 Trustee will also be reimbursed for the $181.00 filing fee paid by him to
the U.S. Bankruptcy Court.

COMPENSATION TO SALES AGENT/AUCTIONEER/BROKER/ETC.: $12,000.00 or approximately 6%
to be paid by the lender’s portion of the sale proceeds. BKRES will pay REMAX from its 6%
commission.

LIENS/MORTGAGES/SECURITY INTEREST ENCUMBERING PROPERTY: The sale is free and clear of
all liens, encumbrances and judgments. This sale is subject to any easements, covenants or
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restrictions of record. There is a valid first mortgage lien held against this real property by Freedom
Mortgage in the approximate amount of $252,193.00. Freedom Mortgage has agreed to accept a
payment of $181,777.42 to release its lien on the real estate and to waive its deficiency for the
balance.

The Trustee is informed and believes Sunnova Energy Corporation may hold a UCC lien on solar
panels installed on the real property. Sunnova Energy Corporation has agreed to accept $1,500.00
to release the UCC lien on the solar panels using contributions from Trustee and/ or Buyers as
agreed/ necessary.

The net amounts could increase or decrease depending on the actual closing costs determined at
closing, but in no event would the estate receive less than the $10,000.00 Trustee fee, less any
expenses/ contributions from the Trustee fee as necessary.

The Trustee is not aware of any other liens, judgments, or other encumbrances. To the extent they
may exist, they are disputed and they shall attach to the estate’s interest in the net sale of proceeds
pursuant to 11 U.S.C. §363(f)(4).

A certified copy of the Order approving the sale may be filed with the appropriate clerk and/or
recorded with the recorder to cancel any liens and other encumbrances of record as provided for in
this notice.

DEBTOR’S EXEMPTION: Not applicable

PROCEEDS ESTIMATED TO BE PAID TO THE ESTATE: Approximately $10,000.00 less any
expenses/ contributions as necessary.

       Applicant is informed and believes that it would be in the best interest of the estate to sell
said property by private sale. Applicant also believes that the funds to be recovered for the estate
from the sale of said property justify its sale and the filing of this application.

        The Court may consider additional offers at any hearing held on this notice and application
for sale. The Court may order at the hearing that the property be sold to another party on
equivalent or more favorable terms.

       The Trustee may seek appropriate sanctions or other similar relief against any party filing a
spurious objection to this notice and application.

        WHEREFORE, applicant requests the court issue an order authorizing sale of said property
and such other and further relief as may be proper.
                                                     /s/ Kevin Campbell
                                                    KEVIN CAMPBELL, TRUSTEE
                                                    Post Office Box 684
                                                    Mt. Pleasant, SC 29465
                                                    (843) 884-6874/884-0997(fax)
Mt. Pleasant, SC                                    District Court ID No. 30
Dated: July 16, 2019                                kcampbell@campbell-law-firm.com
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                               UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF SOUTH CAROLINA


IN RE:                                            CASE NO: 19-02285-dd

Gregory Douglas Miller and                        CHAPTER: 7
Melissa Kristine Miller

                            DEBTOR(S)


                                      CERTIFICATE OF MAILING


       I, Suzanne Chisholm, attorney for the Chapter 7 Trustee, hereby certify that I have this day
mailed a true and correct copy of the following:

                                  Notice of sale and Proposed Order

by United States Postal Service, to the following parties:


1. SEE ATTACHED MAILING MATRIX
2. Dennis Bernat Jr., 73 Willet St., Bloomfield, NJ 07003


                                                /s/ Suzanne Chisholm
                                                Suzanne Chisholm
                                                Campbell Law Firm, P.A.
                                                Post Office Box 684
                                                Mount Pleasant, SC 29465
                                                Phone No.: (843) 884-6874
                                                Facsimile No.: (843)884-0997
                                                Scampbell@campbell-law-firm.com


Dated: July 16, 2019
